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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF RHODE ISLAND

  CAROLYN RAFAELIAN, an individual, ALEX AND
  ANI PLEDGE CO., a Rhode Island Corporation, and
  VENICE BEACH WALK, LLC, a California Limited
  Liability Company,

                               Plaintiffs,

                -v-
                                                                1:20-cv-00247-MSM-PAS
  LC A&A HOLDINGS, INC., a Delaware Corporation,
  LC A&A INTERMEDIATE INVESTORS, LLC, a
  Delaware Limited Liability Company, LYNDON LEA,
  an individual, A AND A SHAREHOLDING CO., LLC,
  a Delaware Limited Liability Company, and ROBERT
  TRABUCCO, an individual,

                               Defendants.


                           DEFENDANTS’ MOTION TO DISMISS
                           PLAINTIFFS’ AMENDED COMPLAINT

         Defendants, LC A&A Holdings, Inc., LC A&A Intermediate Investors, LLC, Lyndon Lea,

  A and A Shareholding Co, LLC and Robert Trabucco, by and through their undersigned attorneys,

  hereby submit this Motion to Dismiss Plaintiffs’ Amended Complaint pursuant to Rules 12(b)(2),

  (3) and (6) of the Federal Rules of Civil Procedure. In support of their motion, Defendants rely

  on the points and authorities set forth in the accompanying memorandum of law.
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  Dated: August 14, 2020          Respectfully submitted,


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                                  CERTIFICATE OF SERVICE

          I hereby certify that on August 14, 2020, a copy of the foregoing was filed
  electronically and served by mail on anyone unable to accept electronic filing. Notice of this
  filing will be sent by e-mail to all parties by operation of the court’s electronic filing as
  indicated on the Notice of Electronic Filing. Parties may access this filing through the court’s
  CM/ECF System.

                                                /s/ Matthew T. Oliverio




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